Case 2:O4-cv-O2875-.]P|\/|-tmp Document 25 Filed 06/22/05 Page 1 of 2 Page|D 32

   
 

 

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w.D. . - vtPlHS
AMY c. LEvvls,
Piaintifr,
"' No. 04-2875-Ml / P

CHR|STIAN BROTHERS UNIVERS|TY,
STAN|SLAUS SOBCZYK, TAU KAPPA
EPSILON-CBU CHAPTER, |NC. and
ALEX ARTHUR,

Defendants.

 

ORDER OF D|SM|SSAL W|TH PREJUD|CE AS TO DEFENDANTS
CHR|ST|AN BROTHERS UN|VERS|TY, STAN|SLAUS SOBCZYK,
AND TAU KAPPA EPS|LON - CBU CHAPTER, lNC., ONLY

 

This cause came to be heard on the 21st day of June, 2005, at which time
a teleconference was held by the Court with the participation of all parties that had filed
an Answer. lt appears to the Court that the plaintiff wishes to dismiss this matter with
prejudice as to defendants Christian Brothers Universityl Stanis|aus Sobczyk, and Tau
Kappa Epsilon - CBU Chapter, lnc., only.

|T |S, THEREFORE, ORDERED, ADJUDGED AND DECREED that this
cause is dismissed with prejudice as to defendants Christian Brothers University,
Stanislaus Sobczyk, and Tau Kappa Epsi|on - CBU Chapter, fw Ky.

/Q»£Rlll%@

JUDG
Date: W\Q 2 'i 2&|0`§

 

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Honorable J on McCalla
US DISTRICT COURT

